No. 5:22-bk-00056   Doc 5-3   Filed 02/24/22   Entered 02/24/22 16:00:38   Page 1 of
                                         26




            EXHIBIT C
No. 5:22-bk-00056       Doc 5-3       Filed 02/24/22         Entered 02/24/22 16:00:38              Page 2 of
                                                 26

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                               CREDIT LINE DEED OF TRUST,
                         SECURITY AGREEMENT AND FIXTURE FILING


      THIS INSTRUMENT SECURES AN OBLIGATION THAT MAY INCREASE AND
      DECREASE FROM TIME TO TIME.

      THIS INSTRUMENT CONTAINS AFTER ACQUIRED PROPERTY PROVISIONS.

      THIS DEED OF TRUST IS FILED FOR RECORD IN THE REAL ESTATE RECORDS
      AS A FIXTURE FILING PURSUANT TO WEST VIRGINIA CODE SECTION 46-9-502.

                       THIS CREDIT LINE DEED OF TRUST, SECURITY AGREEMENT
      AND FIXTURE FILING (the “Deed of Trust and Security Agreement”), dated as of August
      30, 2007 and effective as of August 31,2007, by and among OHIO VALLEY UNIVERSITY,
      INC., a West Virginia corporation, whose address is 1 Campus View Drive, Vienna, West
      Virginia 26105-8000 (the “Grantor”), and DAN MARSHALL, a resident of Wood County,
      West Virginia, as trustee (the “Trustee”). The beneficiary of this Deed of Trust and Security
      Agreement at the time of execution and delivery is UNITED BANK, INC. (the “Beneficiary”),
      as trustee under the hereinafter described Indentures.

                        WITNESSETH: That for and in consideration of the indebtedness and trusts
      hereinafter set forth and the sum of Ten Dollars (SI 0.00), cash in hand paid, and other good and
      valuable consideration, the receipt and sufficiency of which are hereby acknowledged, Grantor
      does hereby grant and convey unto Trustee for the benefit of the Beneficiary:

                       (A)     All of its right, title and interest in and to that certain real estate more
      particularly set forth and described in “EXHIBIT A - CAMPUS REAL PROPERTY,”
      attached hereto and incorporated by reference herein, together with all rights, privileges,
      easements, hereditaments and appurtenances thereunto belonging or appertaining (the
      “Premises”) as owner, lessee, sublessee or otherwise;

                       (B)   All equipment, furniture, facilities and other personal property of every
      kind and nature, now owned or hereafter acquired, whether considered real property, personal
      property or fixtures, and proceeds thereof, located on the Premises (collectively, the
      “Equipment”);

                       (C)    Any and all buildings, improvements and fixtures of every kind, and all
      machinery, equipment and property now or hereafter owned by Grantor or in which it shall have
      an interest which are or shall be attached to, or be deemed to be fixtures and a part of, the
      Premises, and all easements and rights-of-way appertaining thereto (collectively, the “Fixtures”);

                       CD)      All right, title and interest of Grantor in and to all rents from any and all
      of the Premises, Fixtures and Equipment (all of the foregoing being collectively referred to as the
      “Rents”), together with the right to collect and apply the same to any indebtedness secured
      hereunder but subject, however, to the right of the Grantor to collect the Rents as long as the
      Grantor is not in default hereunder. The foregoing assignment shall be fully operative without
      any further action on the part of any party hereto. The Beneficiary shall be entitled, at its option
      upon the occurrence of an Event of Default, as hereinafter defined, to all Rents from the

      CH893647.5
No. 5:22-bk-00056 Docor5-3            Filed 02/24/22        Entered 02/24/22 16:00:38             Page 3 of
     6D0f;j     PAGE                             26
    Premises, Fixtures and Equipment whether or not the Beneficiary takes possession of the
    Premises. Upon the occurrence of an Event of Default, the permission hereby given to the
    Grantor to collect such Rents shall terminate, and such permission shall not be reinstated, upon a
    cure of the default without the Beneficiary’s specific consent. Neither the exercise of any rights
    under this paragraph by the Beneficiary nor the application of any such Rents to the Secured
    Debt, as hereinafter defined, shall cure or waive any Event of Default or notice of any Event of
    Default hereunder or invalidate any act done pursuant hereto or to any such notice, but shall be
    cumulative of all other rights and remedies;

                     (E)      All proceeds of the conversion, voluntary or involuntary, of any of the
    foregoing into cash or liquidated claims, including, but not limited to

                     (i)      all proceeds of insurance or condemnation awards or other guaranties
                              or warranties which Grantor now has or may hereafter acquire with
                              respect to the Premises, Fixtures, Equipment and/or the Rents and all
                              proceeds of any sales or other dispositions of the property comprising
                              any part thereof; and the Beneficiary is hereby authorized to collect and
                              receive said awards and proceeds and to give proper receipts and
                              acquittances therefor, and (if it so elects) to apply the same toward the
                              payment of the indebtedness and other sums secured hereby,
                              notwithstanding the fact that the amount owing thereon may not then
                              be due and payable;
                     (ii)     all contract rights, general intangibles, actions and rights in action,
                              including without limitation all rights to insurance proceeds and
                              unearned premiums arising from or relating to the Premises, Fixtures
                              and Equipment above; and
                     (hi)     all proceeds, products, replacements, additions, substitutions, renewals
                              and accessions of and to the Premises, Fixtures and Equipment.

                      The foregoing provisions hereof shall constitute an absolute and present
    assignment of the rents, income and other benefits from the property described in the granting
    clauses above, subject, however, to the conditional permission given to the Grantor to collect and
    use such rents, income and other benefits as hereinabove provided; and the existence or exercise
    of such right of the Grantor shall not operate to subordinate this assignment to any subsequent
    assignment, in whole or in part, by the Grantor, and any such subsequent assignment by the
    Grantor shall be subject to the rights of the Beneficiary hereunder; and

                     (F)      All Accounts, Bank Accounts, General Intangibles, Gross Receipts, and
    Related Rights (all as defined in the Indentures) of the Grantor now owned or hereafter acquired.

                    All of the foregoing are sometimes collectively referred to as the “Secured
    Property” and shall secure the indebtedness herein described and covered by this Deed of Trust
    and Security Agreement.

                     TO HAVE AND TO HOLD the Secured Property unto the Trustee and their
    successors in trust forever; and Grantor does hereby covenant to and with the Trustee and their
    successors and assigns, that Grantor will warrant generally the Secured Property hereby
    conveyed; that Grantor has the right to grant and convey the Secured Property to Trustee; that the
    same is free from any and all liens and encumbrances other than Permitted Encumbrances (as
    defined in the hereafter described Master Indenture); that Trustee shall have quiet possession
    thereof and that Grantor will execute and deliver such other and further assurances of the
    Secured Property as may be requisite, including, but not limited to, the execution and delivery of

    CH893647.5                                       2
No. 5:22-bk-00056
      BOOK        PAGEDocOO
                          5-3          Filed 02/24/22        Entered 02/24/22 16:00:38             Page 4 of
                                                  26
       financing statements, continuation statements and such other instruments as the Trustee may
       require to impose the lien and security interest hereof more specifically upon any item or items of
       property, or rights or interests therein, covered by this Deed of Trust and Security Agreement,
       and will do such other and further reasonable acts as the Trustee may require to carry out more
       effectually the purposes of this Deed of Trust and Security Agreement.

                        IN TRUST NEVERTHELESS to secure the obligations of the Grantor under

                (i)      that certain Master Trust Indenture dated as of August 30,2007 by and between
       the Grantor and United Bank, Inc., as master trustee, (the “Master Trustee”), as amended and
       supplemented by Supplemental Master Trust Indenture 2007-1 dated as of August 30, 2007,
       (collectively the “Master Indenture”), and the Series 2007 A Bonds but not the Series 2007 D
       Bonds issued thereunder,
                (ii)     that certain Trust Indenture (the “Series B Indenture”) dated as of August 30,
       2007 by and between The County Commission of Wood County (West Virginia) and United
       Bank, Inc., as bond trustee, and the obligations issued thereunder, and
                (iii)    that certain Trust Indenture (the “Series C Indenture”) dated as of August 30,
       2007 by and between The Wood County (West Virginia) Building Commission and United
       Bank, Inc., as bond trustee, and the obligations issued thereunder,
                (iv)     that certain $300,000 Line of Credit between Cornerstone Bank, Inc. and the
       Grantor and that certain $200,000 Line of Credit between United Bank, Inc. and the Grantor
       (collectively, the “Line of Credit”) issued pursuant to agreements between the respective banks
       and the Grantor.

       (collectively, the Master Indenture, Series B Indenture, and Series C Indenture, the “Indentures”
       and all obligations thereunder and the Line of Credit are the “2007 Obligations”).

                         This Deed of Trust and Security Agreement also secures any and all
       replacements, extensions, modifications and/or renewals of the 2007 Obligations and the
       Indentures, or any part thereof, however changed in form, manner or amount, and all other
       indebtedness of Grantor to Trustee or otherwise, at any time and from time to time arising
       hereunder or under the Master Indenture, and any and all replacements, extensions,
       modifications and/or renewals of such other indebtedness (all of which indebtedness, together
       with the interest thereon, is sometimes hereinafter collectively referred to as the “Secured Debt”).

                        Grantor, for and in the consideration aforesaid, covenants, represents, warrants
       and agrees as follows:

                1.      That it will, so long as the Secured Debt, or any part thereof, remains unpaid:

                        (a)      pay as and when due and payable all taxes, assessments, impositions
                                 and other governmental charges, fines and fees that may be levied or
                                 assessed against the Secured Property or any part thereof, including the
                                 buildings and improvements now situate on the Premises, or that may
                                 hereafter be erected thereon, and any improvements and additions
                                 made therein or thereto from time to time, all as provided in the
                                 Indentures and subject to the terms thereof;
                        (b)      have and keep the buildings and improvements now situate on the
                                 Premises or that may hereafter be erected thereon, and all other insur­
                                 able property covered by this Deed of Trust and Security Agreement,
                                 constantly insured against loss or damage by fire and such other


      CH893647.5                                        3
No. 5:22-bk-00056          Doc 5-3    Filed 02/24/22        Entered 02/24/22 16:00:38             Page 5 of
                   PAGE                          26
                              casualties, contingencies and hazards as set forth in the Indentures and
                              subject to the terms thereof;
                     (c)      keep and maintain the Secured Property in good condition and repair
                              and not abandon the same, or any part thereof, as provided in the
                              Indentures and subject to the terms thereof, nor commit or permit the
                              commission of waste on or in the Secured Property, or any part thereof,
                              or permit any building or improvement to be removed, destroyed,
                              demolished or structurally altered in whole or in part except as
                              permitted by the Indentures, and Grantor shall as provided in the
                              Indentures and subject to the terms thereof, comply, and cause all
                              occupants of the Secured Property or those in possession thereof to
                              comply, with all laws, ordinances, orders, rules, regulations and
                              requirements relating to the use or maintenance of the Secured
                              Property and with all requirements, directions and orders and notices of
                              violations thereof issued by any governmental agency, body or officer;
                     (d)      permit the Beneficiary or its agents, to enter and inspect the Secured
                              Property at all reasonable times; and
                     (e)      pay to the Beneficiary upon demand, any and all sums of money,
                              including all costs, expenses and reasonable attorneys’ fees, which the
                              Beneficiary may incur or expend in any action or proceeding that may
                              concern the Secured Property, or any part thereof or interest therein,
                              including without limitation any eminent domain proceeding, or any
                              action or proceeding to sustain the lien of this Deed of Trust and
                              Security Agreement, or its priority, or in defending any party thereto,
                              or any party secured hereby, against the liens, demands or claims of
                              title of any person, firm or corporation, asserting priority over this
                              Deed of Trust and Security Agreement, or asserting title adverse to the
                              title under which the Grantor holds, or in the discharge of any such
                              liens, demands or claims, or in connection with any action to foreclose
                              this Deed of Trust and Security Agreement, or to recover any
                              indebtedness secured hereby or any other payments made on behalf of
                              the Grantor pursuant to the Indentures.

             2.       The terms “hazardous waste,” “hazardous substance,” “disposal,” “release,” and
    “threatened release,” as used in this Deed of Trust and Security Agreement, shall have the same
    meanings as set forth in the Comprehensive Environmental Response, Compensation, and
    Liability Act of 1980, as amended, 42 U.S.C. Section 9601, et seq. (“CERCLA”), the Superfund
    Amendments and Reauthorization Act of 1986, Pub. L. No. 99-499 (“SARA”), the Hazardous
    Materials Transportation Act, 49 U.S.C. Section 1801, et seq., the Resource Conservation and
    Recovery Act. 42 U.S.C. Section 6901, et seq., or other applicable state or Federal laws, rules, or
    regulations adopted pursuant to any of the foregoing. The terms “hazardous waste” and
    “hazardous substance” shall also include, without limitation, petroleum and petroleum by­
    products or any fraction thereof and asbestos. Grantor represents, covenants, and warrants to the
    Beneficiary that:

                     (a)      During the period of Grantor’s ownership of the Secured Property,
                              there has been no use, generation, manufacture, storage, treatment,
                              disposal, release or threatened release of any hazardous waste or
                              substance by any person on, under, about or from the property except
                              in substantial compliance with all applicable federal, state and local
                              laws, ordinances, rules or regulations;



    CH893647.5                                       4
No. 5:22-bk-00056
            n.          Doc 5-3        Filed 02/24/22        Entered 02/24/22 16:00:38             Page 6 of
                             U                    26

                       (b)       Grantor has no knowledge of, or reason to believe that there has been,
                                 except as previously disclosed to and acknowledged by the Beneficiary
                                 in writing, (i) any use, generation, manufacture, storage, treatment,
                                 disposal, release, or threatened release of any hazardous waste or
                                 substance on, under, about or from the Secured Property by any prior
                                 owners or occupants of the Secured Property except in substantial
                                 compliance with all applicable federal, state and local laws, ordinances,
                                 rules or regulations or (ii) any actual or threatened litigation or claims
                                 of any kind by any person relating to such matters; and
                       (c)       Except as previously disclosed to and acknowledged by the Beneficiary
                                 in writing, neither Grantor nor any tenant, contractor, agent or other
                                 authorized user of the Secured Property shall use, generate,
                                 manufacture, store, treat, dispose of, or release any hazardous waste or
                                 substance on, under, about or from the Secured Property unless any
                                 such activity is conducted in compliance with all applicable federal,
                                 state, and local laws, regulations and ordinances, including without
                                 limitation those laws, regulations, and ordinances described above.

                        Grantor authorizes the Beneficiary and its agents to enter upon the Secured
      Property to make such inspections and tests, at Grantor’s expense, as the Beneficiary may
      reasonably and in good faith deem appropriate to determine compliance of the Secured Property
      with this Section of the Deed of Trust and Security Agreement. Any inspections or tests made
      by the Beneficiary shall be for its purposes only and shall not be construed to create any
      responsibility or liability on the part of the Beneficiary to Grantor or to any other person. The
      representations, covenants, and warranties contained herein are based on Grantor’s due diligence
      in investigating the Secured Property for hazardous waste and hazardous substances. Grantor
      hereby (a) releases and waives any future claims against the Beneficiary and Trustee for
      indemnity or contribution in the event Grantor becomes liable for cleanup or other costs under
      any such laws, and (b) agrees to indemnify and hold harmless the Beneficiary and Trustee
      against any and ail claims, losses, liabilities, damages, penalties, and expenses which the
      Beneficiary or Trustee may directly or indirectly sustain or suffer resulting from a breach of this
      Section of this Deed of Trust and Security Agreement or as a consequence of any use,
      generation, manufacture, storage, disposal, release or threatened release occurring prior to
      Grantor’s ownership or interest in the Secured Property, whether ornot the same was or should
      have been known to Grantor.

                       The Secured Property, or some substratum of the Secured Property, does not
      contain an underground storage tank or tanks. To the extent that there maybe some obligation
      under state or federal law imposed upon the Beneficiary or the Trustee with respect to any such
      underground storage tank, the Grantor warrants that such tank or tanks, and all lines and
      connections thereto have been Secured Property inspected and tested, and all such tanks, lines
      and connections are tight such that there is no leakage therefrom. Grantor hereby (a) releases
      and waives any future claims against the Beneficiary and Trustee for indemnity or contribution
      in the event Grantor becomes liable for clean-up or other costs associated with such tanks, lines
      and connections, and (b) agrees to indemnify and hold harmless the Beneficiary and Trustee
      against any and all claims, losses, liabilities, damages, penalties, and expenses which the
      Beneficiary or Trustee may directly or indirectly sustain or suffer resulting from a breach of this
      Section of this Deed of Trust and Security Agreement or as a consequence of any use, storage,
      disposal, release or threatened release from such tanks, lines and connections, whether or not the
      same was or should have been known to Grantor.




      CH893647.5                                         5
No. 5:22-bk-00056          or*
                            Doc 5-3         Filed 02/24/22       Entered 02/24/22 16:00:38             Page 7 of
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                    The provisions of this Section of this Deed of Trust and Security Agreement,
    including the obligations to indemnify and hold harmless, shall survive the payment of the
    Secured Debt and the satisfaction and reconveyance of the lien of this Deed of Trust and
    Security Agreement and shall not be affected by the Beneficiary’s acquisition of any interest in
    the property, whether by foreclosure or otherwise.

            3.       The obligations secured by this Deed of Trust and Security Agreement are in the
    aggregate principal amount of $ 16,565,000, plus interest thereon and taxes, insurance premiums
    and other obligations, including interest thereon, undertaken by the Grantor due under the
    Indentures. The proceeds of the 2007 Obligations are being applied pursuant to the terms of the
    Indentures for the purposes set forth therein. The Indentures are hereby incorporated into and
    made a part of this Deed of Trust and Security Agreement as if set forth in full herein.

             4.       In the event Grantor fails to make any payment required, then, and in any such
    event, the Beneficiary shall have the right, without notice to or demand upon Grantor or any
    other person, to make any such payment, take any such action or do any such thing as, in the
    exercise of Beneficiary’s discretion, may be determined to be reasonably necessary to protect the
    lien and security hereof as fully and completely as if Grantor made each and every such payment
    when due, and kept, complied with, performed and carried out the provisions of said
    paragraphs 1 and2. Withoutlimitingthegeneralityoftheforegoing, the Beneficiary may, in any
    such event,

                     (i)            obtain the required insurance covering the Secured Property and pay
                                    the premiums thereon or pay any unpaid premiums on any insurance
                                    procured by Grantor;
                     (ii)           pay said taxes, assessments, impositions and other governmental
                                    charges, fines and fees together with any penalties and interest accrued
                                    thereon, and redeem the Secured Property from a tax sale if it has been
                                    sold, and shall be subrogated to the lien of the governmental body to
                                    which such payment was made;
                     (iii)          make and pay for any and all repairs which Indentures Trustee deems
                                    necessary to place or keep the Secured Property in good condition and
                                    repair;
                     (iv)           stop or mitigate waste on or in the Secured Property or any part
                                    thereof;
                     (v)            stop or prevent the removal, destruction, demolition or structural
                                    alteration of any building or improvement on the Secured Property;
                     (vi)           stop or prevent the violation of any law, ordinance, rule or regulation
                                    relating to the use or maintenance of the Secured Property or of any
                                    requirement, direction or order or notice of violation thereof issued by
                                    any governmental agency, body or officer; and
                     (vii)          pay all or any part of any sum or sums of money that may be due or
                                    payable under the provisions of subparagraph (e) of paragraph 1
                                    hereof;

    and Grantor hereby promises to pay to Beneficiary upon demand, any and all sums of money
    paid out or expended by it for any of the purposes set out in this paragraph 4 and agrees that any
    sum or sums of money so paid by Beneficiary shall thereupon be and become a part of the
    Secured Debt, including those moneys expended on behalf of the Grantor pursuant to the
    Indentures, and shall be collectible as such, all without waiver of any right arising from the
    breach of or default in the performance of any warranty, covenant, condition, provision or
    agreement herein contained or contained in the Indentures, including, without limitation, the

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No. 5:22-bk-00056       Doc 5-3      Filed 02/24/22        Entered 02/24/22 16:00:38             Page 8 of
                                                26
      right to enter and take possession of the Secured Property, and rent and manage the same, and
      the right to foreclose this Deed of Trust and Security Agreement; but nothing herein contained
      shall be construed as imposing any duty or obligation upon Beneficiary, or upon Trustee, to pay
      any such sum or sums of money herein authorized to be paid, or to take any other action
      authorized hereunder.

              5.        Upon the occurrence of a payment related Event of Default as defined in the
      Indentures or default by Grantor in any of its covenants hereunder (hereinafter collectively called
      an “Event of Default”), at the option through the Beneficiary of
              (i)      the holders of at least 75% of the aggregate principal amount of outstanding
                       Series 2007 A Bonds, or
              (ii)     if no Series 2007 A Bonds are outstanding, the holders of more than 50% of the
                       aggregate principal amount of outstanding Series 2007 B Bonds and Series
                       2007 C Bonds, or
              (hi)     or if no Series 2007 A Bonds, Series 2007 B Bonds or Series 2007 C Bonds are
                       outstanding, the Beneficiary,
      the Secured Debt shall immediately become due and payable without notice to or demand on
      Grantor or any other person.

              6.      If any one or more Events of Default shall occur and be continuing, any one or
      more of the following rights and remedies shall exist, any two or more of which may be
      exercised concurrently:

              (A)      Without notice to or demand on Grantor or any other person, Trustee or
                       Beneficiary may forthwith, separately or jointly:

                       (i)      enter into and upon all of the Secured Property, or any part or portion
                                thereof, either in person or by agent, and take possession of the
                                Secured Property, or any part or portion thereof, without process of
                                law, and without liability to Grantor or other owner or owners of the
                                Secured Property, and manage and rent the same, collect and receive
                                the rents, issues and profits thereof (past due, due or to become due)
                                and apply the same to the payment of the Secured Debt, after first
                                deducting the costs and expenses incurred in managing the Secured
                                Property and in collecting said rents, issues and profits (including
                                reasonable compensation for managing the same and collecting and
                                disbursing said rents, issues and profits accruing therefrom), and after
                                deducting such further amount or amounts as may be necessary to pay
                                or reimburse the Beneficiary and Trustee for any sum or sums of
                                money paid by them, or any of them, under the provisions hereof; or
                       (ii)     have a receiver appointed by any court having jurisdiction to take
                                charge of the Secured Property, or any part or portion thereof, and
                                collect, receive and apply the rents, issues and profits thereof.




      CH893647.5                                       7
No. 5:22-bk-00056    Doc 5-3      Filed 02/24/22        Entered 02/24/22 16:00:38              Page 9 of
                                             26
                 In either case, any person or persons in possession of the Secured Property, or
                 any part or portion thereof, shall be deemed a tenant at will and shall at once
                 surrender such possession on demand of Trustee or Beneficiary or a receiver. It
                 is understood and agreed by and between the parties hereto that nothing herein
                 contained shall be construed as a substitute for, or in derogation of, the right to
                 foreclose this Deed of Trust and Security Agreement or as imposing any duty or
                 obligation upon Beneficiary or upon Trustee, or any of them, to take charge of
                 the Secured Property, or any part or portion thereof, to collect said rents, issues
                 or profit or to have a receiver appointed for such purposes.

           (B)   Without notice to or demand on Grantor or any other person, Beneficiary may
                 at its option declare the Secured Debt to be immediately due and payable and
                 upon the exercise of said option the Secured Debt may be collected by proper
                 action, foreclosure of this Deed of Trust and Security Agreement, or any other
                 legal or equitable proceeding.

           (C)   At any time after the exercise by the holders of the bonds, lenders ofthe Line of
                 Credit, or Beneficiary of the option to declare the Secured Debt to be
                 immediately due and payable, the Trustee, upon the written request of the
                 Beneficiary, shall foreclose upon and sell the Secured Property, or any part or
                 portion thereof, at one or more successive sales, as an entirety or otherwise,
                 both as the Trustee may deem expedient, to satisfy the Secured Debt at public
                 auction or auctions at the front door of the courthouse of the county in which
                 the Secured Property is situate, for cash in hand on the day of sale, after first
                 giving legally sufficient notice each of such sale by publishing such notice in a
                 qualified newspaper of general circulation published in the county wherein the
                 Secured Property is located or otherwise as provided by law, once a week for
                 2 successive weeks preceding the day of sale. Notwithstanding anything herein
                 to the contrary, a copy of such notice shall be served on the Grantor, by
                 certified mail, return receipt requested, directed to the addresses shown by
                 Grantor in paragraph 12 hereof or such other address given to the Beneficiary
                 or Beneficiary’s assignee in writing by the Grantor subsequent to the execution
                 and delivery hereof and shall be served by certified mail, at least 20 days prior
                 to the sale, upon any subordinate lienholder who has previously notified the
                 Trustee or the Beneficiary, as primary lienholders, by certified mail, at the
                 address or addresses set forth in paragraph 13 hereof, of the existence of a
                 subordinate lien, directed to the address of the subordinate lienholder as
                 provided by the subordinate lienholder in the notice of existence of a
                 subordinate lien. Any other notice or notices required or permitted by law to be
                 given to Grantor and/or any others in connection with such sale or sales and
                 not properly waived shall be given to Grantor and/or any others as provided by
                 applicable law at the address or addresses, if applicable, set forth in paragraph
                 13 hereof and as otherwise provided by applicable law. In lieu of or in addition
                 to the foregoing, the Trustee may give notice of the time, terms and place of
                 such sale or sales in accordance with the laws in effect on the date of
                 commencement of such foreclosure proceedings or as may otherwise be
                 allowed by law. Out of the proceeds of such sale, the Trustee shall pay,
                          (i)      first, the actual costs and expenses of executing this Deed of
                                  Trust and Security Agreement, including any additional
                                   commission permitted by law to the Trustee, or to the one so
                                   acting, as their commission hereunder;



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No. 5:22-bk-00056       Doc 5-3          Filed 02/24/22       Entered 02/24/22 16:00:38             Page 10 of
                                                    26

                                 (ii)      second to the Beneficiary and the Trustee all moneys which
                                           they or any of them may have paid for taxes, assessments,
                                           impositions or other governmental charges, fines or fees,
                                           insurance, repairs, court costs, and all other costs and expenses
                                           incurred or paid under the provisions of this Deed of Trust and
                                           Security Agreement, including, without limitation, reasonable
                                           attorneys’ fees and legal expenses incurred by the Beneficiary
                                           or the Trustee in disposing of said properties, together with
                                           interest thereon at the rate provided in the Indentures from the
                                           date of payment;
                                 (iii)     third, to the Beneficiary the full amount due and unpaid on the
                                           Series 2007 A Bonds and Line of Credit;
                                 (iv)      fourth, to the Beneficiary the full amount due and unpaid on
                                           the Series 2007 B Bonds and Series 2007 C Bonds as defined
                                           in the Indentures;
                                 (v)       fifth, all other indebtedness hereby secured, together with all
                                           interest accrued thereon to date of payment; and
                                 (vi)      sixth, the balance, if any, to Grantor, its successors or assigns,
                                           upon delivery of and surrender to the purchaser or purchasers
                                           of possession of the Secured Property less the expense, if any,
                                           of obtaining such possession, or such other parties as their
                                           interests may appear.

               (D)      In addition to the rights, remedies and powers hereinabove set forth, the
                        Beneficiary and the Trustee shall have as to the Secured Property and any and
                        all other fixtures and personal property covered by this Deed of Trust and
                        Security Agreement, all rights, remedies and powers of a secured party under
                        the Uniform Commercial Code of West Virginia, as the same may now be in
                        effect or hereafter amended (the “Code”).

                7.        As to any of such property as is personal property or fixtures subject to the
       Code, this instrument shall constitute a security agreement, and the Grantor does hereby grant a
       security interest therein to the Trustee and Beneficiary. This instrument is to be filed for record
       in the real estate records of Wood County, West Virginia, so as to serve as a fixture filing
       pursuant to West Virginia Code § 46-9-502.

                        Notwithstanding the release of any property that is deemed real property or any
       proceedings to have released this Deed of Trust and Security Agreement or its satisfaction of
       record, the terms hereof shall survive as a security agreement with respect to the security interest
       created hereby until the repayment or satisfaction in full of the obligations of the Grantor under
       the Indentures. Nothing herein shall preclude the Beneficiary or Trustee from proceeding as to
       both real and personal property in accordance with the Beneficiary’s or Trustee’s rights and
       remedies in respect of property as provided in Article 9 of the Code.

                 8.       To the extent allowed by applicable law, Grantor hereby waives personal
       service of notice of any sale made hereunder, but not any notice by mailing as prescribed in
       paragraph 6(C) hereof, upon it, its successors or assigns, and also waives the posting of notice of
       sale at the courthouse, and agrees that any sale made hereunder may be adjourned from time to
       time without notice other than oral proclamation of such adjournment at the time and place of
       sale, or at the time and place of any adjourned sale. The Grantor does hereby, to the lull extent
       permitted by applicable law, waive any right to require the Trustee and/or the Beneficiary to post



       CH893647.5                                         9
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     BOOH  t'*! PAGE Doc 5-3
No. 5:22-bk-00056                      Filed 02/24/22        Entered 02/24/22 16:00:38              Page 11 of
                                                  26

     a bond or any like security in connection with the performance of the Trustee’s duties pursuant
     to the terms of this instrument.

             9.     In the event that foreclosure proceedings are instituted hereunder but are not
     completed, Trustee shall be reimbursed for all costs and expenses incurred by them in
     commencing such proceedings, and, in addition, shall be entitled to, and paid, as a commission,
     reasonable compensation therefor; and all costs and expenses so incurred by Trustee, and such
     commission shall be payable by Grantor on demand, and shall be and become a part of the
     Secured Debt and shall be collectible as such.

              10.      Trustee, or the successor or survivor thereof, may act in the execution of this
     trust; and the Trustee, or any successor trustee, is hereby authorized to act by agent or attorney in
     the execution of this trust and need not be present in person at any foreclosure sale.

              11.       It is hereby expressly covenanted and agreed by all parties hereto that the
     Beneficiary may at any time and from time to time hereafter, without notice and with or without
     cause, appoint and substitute another Trustee or Trustees, corporations or persons, in place of the
     Trustee or Trustees herein named to execute the trust herein created. Upon such appointment,
     either with or without a conveyance to said substituted Trustee or Trustees by the Trustee herein
     named, or by any substituted Trustee in case the said right of appointment is exercised more than
     once, the new and substituted Trustee or Trustees in each instance shall be vested with all the
     rights, titles, interests, powers, duties and trusts in the premises which are vested in and
     conferred upon the Trustees herein named; and such new and substituted Trustee or Tmstees
     shall be considered the successors and assigns of the Trustees who are named herein within the
     meaning of this instrument, and substituted in their place and stead. Each such appointment and
     substitution shall be evidenced by an instrument in writing which shall recite the parties to, and
     the book and page of record of, this Deed of Trust and Security Agreement, and the description
     of the Premises, which instrument, executed and acknowledged by Beneficiary and recorded in
     the office of the Clerk of the County Commission of Wood County, West Virginia, shall be
     conclusive proof of the proper substitution and appointment of such successor Trustee or
     Trustees, and notice of such proper substitution and appointment to all parties in interest.

              12.      It is hereby expressly covenanted and agreed by all parties hereto that in the
     event additional Obligations (as such term is defined in the Master Trust Indenture) are issued,
     the parties will consent to the execution, delivery and recordation of one or more deeds of trust,
     mortgages, fixture filings, security agreements or other security documents upon the Secured
     Property, to be junior to the lien and security interests thereon created by this Deed of Trust and
     Security Agreement and not on parity with or senior to the lien and security interests thereon.

              13.     Any notice required or permitted to be given under this Deed of Trust and
     Security Agreement shall, except to the extent expressly otherwise required or provided herein
     and except as otherwise required by applicable law, be effective upon the deposit of such notice,
     in writing, in the regular United States mail, certified, return receipt requested, postage paid,
     addressed to the party or parties to receive such notice at the following addresses or at such other
     address as any such party may give the other parties in the manner for giving notice herein
     prescribed:




     CH893647.5                                        10
No. 5:22-bk-00056
             j PAGE     Doc 5-3       Filed 02/24/22         Entered 02/24/22 16:00:38           Page 12 of
                                                 26

                        TO THE GRANTOR:
                              Ohio Valley University, Inc.
                              1 Campus View Drive
                              Vienna, West Virginia 26105-8000
                              Attention: President

                        TO THE BENEFICIARY:
                              United Bank, Inc.
                              500 Virginia Street, East
                              Charleston, West Virginia 25301
                              Attention: Corporate Trust Department

                        TO THE TRUSTEE:
                              Dan Marshall, Esquire
                              Post Office Box 61
                              Parkersburg, West Virginia 26102

                        The addresses of the Trustee and Beneficiary set forth above shall be the
       addresses to which notice of the existence of a subordinate lien shall be mailed to the primary
       lienholder as hereinbefore set forth.

                 14.    All rights and remedies herein contained shall be cumulative and not exclusive.
       No failure or delay of the Beneficiary or the Trustee to exercise any option, right or power herein
       contained shall constitute a waiver of any right, power or privilege herein given or granted to
       Beneficiary or the Trustee, or an acquiescence therein, and a waiver by the Beneficiary or
       Trustee of the right to exercise any option, right or power as to any breach or default shall not
       constitute a waiver of the right to exercise the same option, right or power, or any other option,
       right or power herein contained, as to another or any continuing or subsequent breach or default.


                        Neither Grantor nor any other person now or hereafter obligated for payment of
       all or any part of the sums now or hereafter secured by this Deed of Trust and Security
       Agreement shall be relieved of such obligation by reason of the failure of Trustee to comply with
       any request of Beneficiary or of any other person so obligated to take action to foreclose on this
       Deed of Trust and Security Agreement or otherwise enforce any provision of this Deed of Trust
       and Security Agreement, any provision of the Indentures, or by reason of the release regardless
       of consideration of all or any part of the security held for the indebtedness secured by this Deed
       of Trust and Security Agreement or by reason of any agreement or stipulation between any
       subsequent owner of the Secured Property and Beneficiary extending the time of payment or
       modifying the terms of this Deed of Trust and Security Agreement. Grantor and all such other
       persons shall continue to be liable to make payments according to the terms of any such
       agreement, unless expressly released and discharged in writing by Beneficiary or otherwise in
       accordance with the provisions of the Indentures.

                15.    If all or any part of the Secured Property or an interest therein is sold or
       transferred by Grantor (except as may be permitted by the Indentures) without the prior written
       consent of the Beneficiary, the Beneficiary may, at its option, declare all sums secured by this
       Deed of Trust and Security Agreement to be immediately due and payable.

                16.   It is further understood that any payment required to be made by the County
       Commission or the Building Commission hereunder shall be paid or promptly reimbursed by the
       Grantor.

       CH893647.5                                       11
No. 5:22-bk-00056 Doc 5-3             Filed 02/24/22        Entered 02/24/22 16:00:38             Page 13 of
           -I 4 4 y                              26
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              17.     It is further understood and agreed between the parties hereto that if any term or
    provision of this Deed of Trust and Security Agreement, or the Indentures hereby secured shall
    contravene or be in conflict with any law of the State of West Virginia or any other applicable
    law or regulation, such term or provision is amended and modified to the smallest possible extent
    to conform with such law.

             18.      It is further understood and agreed by and between the parties hereto that all of
    the representations, covenants, conditions, agreements, warranties and provisions of said parties
    herein contained shall extend to and bind Grantor, its successors and assigns, and shall inure to
    the benefit of the Beneficiary and Trustee, their successors and assigns. It is further understood
    and agreed by Grantor that Beneficiary shall have the right to pledge and assign its rights, title
    and interests under this Deed of Trust and Security Agreement without obtaining the consent of
    Grantor.

             19.     Unless the context shall otherwise indicate, words importing the singular shall
    include the plural, words importing persons shall include firms, associations and corporations,
    and vice versa, words importing the masculine, feminine and neuter gender shall be deemed to
    include all such genders, and the terms “hereof,” “hereby,” “hereunder” and “herein” shall refer
    to this Deed of Trust and Security Agreement.

            20.      This Deed of Trust and Security Agreement may be executed in any number of
    counterparts, each of which shall be an original and constitute but one and the same.

                                    SIGNATURE PAGE FOLLOWS

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    CH893647.5                                       12
No. 5:22-bk-00056       Doc 5-3
                             Qr Filed 02/24/22             Entered 02/24/22 16:00:38             Page 14 of
                        mi                 26
                        IN WITNESS WHEREOF, OHIO VALLEYUNIVERSHY, INC. has caused
      this Credit Line Deed of Trust, Security Agreement and Fixture Filing to be executed and
      attested by their respective duly authorized representatives, on or prior to the date first above
      written.


                                                OHIO VALLEY UNIVERSITY, INC.
                                                                       x'""'

                                                                               -r
                                                By:     Y y                         -w-y   ■-Y
                                                      Its: President

      ATTEST:
                            \
      By-                       '/NLUS.
            ‘s: Secretary




      Aug 22,2007
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      CH893647.5                                      13
No. 5:22-bk-00056
     A Si 1                   Doc 5-3
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                                           Filed 02/24/22      Entered 02/24/22 16:00:38                             Page 15 of
 BOOK                                                 26
        STATE OF WEST VIRGINIA,
        COUNTY OF WOOD, To- Wit:

                         The foregoing instrument was acknowledged before me this 30th day of August
        2007, by   , icl tYX&K   , j'ohiQ         , President of OFEO VALLEY UNIVERSITY, INC.
                                                           o
                         My commission expires                               oc      4-
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                                                               d
        [NOTARIAL SEAL]                                                             '•>


                                                           Notary Public


                                                                     v/ESf                 Official Seal
                                                                   &
                                                                   @ gabRs        0,s,yS,sKSWs,"ia
                                                                                     Ohto Valley University
                                                                                       1 Campus View Dr
                                                                                      Vienna, WV 26105
                                                                              My commissran expires August 25 2016

        This Instrument Was Prepared By:
        JohnC. Stump, Esquire
        Steptoe & Johnson PLLC
        707 Virginia Street
        Charleston, WV 25303
        August 30, 2007




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        CH893647.5                                    14
No. 5:22-bk-00056           Doc 5-3   Filed 02/24/22         Entered 02/24/22 16:00:38             Page 16 of
                                                 26

                    l-i'i       EXHIBIT A - CAMPUS REAL PROPERTY
            FAtiE
                                LEGAL DESCRIPTION - SOUTH CAMPUS

                     All those certain tracts or parcels of land situate in Parkersburg District, Wood
      County, West Virginia and being more particularly described as follows:

                       First Tract: Beginning at a stake at the southeast comer of the tract herein
      conveyed, which said stake is at the intersection of lands now or formerly owned by Graham
      Packing Company and Nesselrotte; thence N. 6?17’ W. 247.7 feet to the center line of Jug Run
      Road; thence continuing N. 62* 17’ W. 2548.66 feet to a stake; thence N. 2f477 E. 890 feet to a
      stake; thence S. 6^37' E. 2566.93 feet to a stake; thence S. 12 W. 361.28 feet to the centerline
      of said Jug Run Road; thence continuing S. 1? W. 485.72 feet to the place of beginning,
      containing 52.37 acres, more or less.

                    There is excepted therefrom a parcel heretofore conveyed to the State Road
      Commission by Deed of record in the Wood County Clerk’s office in Deed Book No. 492, at
      page 362.

                         Second Tract: Beginning at the southeast comer of Chestnut Street and
      Charlotte Avenue, thence with the southerly line of Charlotte Avenue easterly 80 feet to a point
      on same; thence at right angles in a northeasterly direction across Charlotte Avenue and with the
      easterly line of Lots Nos. 87 and 106 of Andrews Addition to the northerly line of Forrest
      Avenue 490 feet; thence at right angles westerly with the northerly line of Forrest Avenue 50
      feet, more or less, to a fence in the line of the Wentz property; thence with the easterly line of the
      Wentz property northerly 360 feet, more or less, to a point in the easterly line of Franklin
      Avenue and the southerly line of a tract heretofore conveyed by the Brookside Development
      Company to J. N. Boice by Deed dated July 16, 1931, and of record in the aforesaid Clerk’s
      office in Deed Book No. 205, at page 126; thence S. 6f56’ E. 1445 feet, more or less, to a point
      in the easterly line of said property; thence at right angles, southwesterly 429 feet to a point;
      thence at right angles northwesterly 145 feet to a point; thence S. if 30' W. 951.8 feet to a point;
      thence southerly 330 feet to the northerly line of the property now owned by Roth; thence with
      the Roth lineN. 62f 15’ W. 600 feet, more or less, to a stake in the easterly line of Lot No. 365;
      thence with the easterly line of Lots Nos. 365, 364, 363, 362, 361 and 360 in a northerly
      direction 713 feet, more or less, to a stake in the southeasterly comer of Lot No. 359; thence with
      the common line of Lots Nos. 359 and 360 across Edgewood Drive South and with the southerly
      line of Lots Nos. 372, 69, 68, 67, 578 feet, more or less, to Chestnut Street; thence with the
      easterly line of Chestnut Street northerly 155 feet to Charlotte Avenue, the place of beginning,
      containing forty (40) acres, more or less, together with all the right, title and interest of the
      parties to all of the intervening streets and 5 feet and 15 feet strips reserved, as indicated on a
      map of said property.

                       There is hereby excepted from this conveyance those certain parcels of real
      estate heretofore conveyed to other parties as follows: (1) A parcel of approximately four (4)
      acres to the Board of Education of the County of Wood, by Deed dated January 25, 1954, of
      record in the aforesaid Clerk’s office in Deed Book No. 374, at page 133, and (2) Those certain
      lots known and numbered as Lots 67, 68, 69 and 372.

                        There is further excepted from this conveyance two parcels heretofore conveyed
      by the party of the first part to Ohio Valley College Investment Corporation, Inc., as follows: (1)


      CH893647.5                                        15
No. 5:22-bk-00056             Doc 5-3
                           i's)
                                         Filed 02/24/22        Entered 02/24/22 16:00:38             Page 17 of
 BOOK              PACE                             26
        11.76 acres by Deed dated January 4, 1973, recorded in Deed Book No. 616, at page 403
        (included in said 11.76 acres is a smaller parcel measuring 59.2 feet by 146 feet conveyed to the
        party of the first part by Deed recorded in Deed Book No. 426, at page 296). (2) 5.82 acres by
        Deed dated January 4, 1973, and recorded in Deed Book No. 616, at page 406.

                         Third Tract: Being all of Lot No. Ten (10), containing four (4) acres and eighty
        (80) poles; Lot No. Eleven (11), containing four (4) acres and twenty (20) poles and Lot No.
        Twelve (12), containing four (4) acres and twenty (20) poles, of what is known as the John Cook
        Estate, Hill Land, and of record in the office of the Clerk of the County Commission of Wood
        County, West Virginia.

                        Fourth Tract: Parcel One: Beginning at a stone at center of the old County
        Road (sometimes called the Williamstown Road) at a comer of lands formerly owned by Olin V.
        Neal, being comer of Lot No. 7 of the Hardin Neal Estate, and running thence with the center of
        said road N. KfSO’ E. 28.2 poles to a stake in the upper line of the said Hardin Neal; thence with
        said line S. 6^15’ E. 100 poles to a stone; thence S. id’SO’ W. 30 poles to a stone in the line of
        said Lot No. 7; thence with said line N. 62 37’ W. 100 poles to the place of beginning,
        containing Eighteen (18) acres, more or less.

                          Parcel Two: Beginning at a stone in the northeast comer of the above
        mentioned tract, and running thence S. 6^15’ E. 63 poles to a stone; thence S. 1 d’SO’ W. 30.63
        poles to a stone and wire post; thence N. 6^27’ W. 53 poles to a stone at the southeast comer of
        the above mentioned tract; thence N. 1^30’ E. 30 poles to the place of beginning, contamingten
        (10) acres, more or less.

                           There is excepted from the above described real estate those two certain tracts
        of land, the first known as Ohio Valley College Addition to Vienna, Section “A”, aplat of which
        is of record in the aforesaid Clerk’s office in Plat Book No. 11, at page 40, and in Plat Book No.
        12, at page 5, and a plat of a Re-division of a part thereof of record in Plat Book No. 12, at page
        11, and the second known as Ohio Valley College Addition to Vienna, Section “B”, a plat of
        which is of record in the aforesaid Clerk’s office in Plat Book No. 12, at page 40, and that
        certain parcel situate on Thirteenth Avenue heretofore conveyed by the party of the first part unto
        Irene M. Taylor by Deed dated March 21,1960, of record in the aforesaid Clerk’s office in Deed
        Book No. 440, at page 312.

                          Fifth Tract: Beginning at an iron stake in the old fence line, thence S. 66-lC?E.
        99 feet to Jug Run Road; thence with said Jug Run Road 2 calls, S. 41° W. 31 feet and S. 31° W.
        198 feet to a point; thence leaving said road and miming in a westerly direction 16-1/2 feet, more
        or less, to the old fence line, being in the easterly line of lands now owned by the first party;
        thence with said old fence line N. 11° 42’ E. 237 feet to the place of beginning, containing one-
        fourth (1 /4) acre, more or less, and being a small triangular parcel of land carved out of Parcel
        Two as described in that certain Deed from Graham Packing Company, Inc., a corporation, to D.
        P. Boord and Dixie Boord, husband and wife, which said Deed was dated the 9th day of October,
        1933, of record in the office of the Clerk of the County Commission of Wood County, West
        Virginia, in Deed Book No. 371, at page 527.

                         Being the same property conveyed to Wood County Development Authority, a
        public corporation, by Ohio Valley College, Incorporated, a West Virginia corporation, by Deed
        dated March 21, 1978, and of record in said Clerk’s office in Deed Book No. 701, at page 266.

                          There is excepted from the aforesaid tracts of land the following:


        CH893647.5                                       16
No. 5:22-bk-00056      Doc
                        y~>igr 5-3   Filed 02/24/22        Entered 02/24/22 16:00:38            Page 18 of
   80^144^ mi                                   26


                        (l)BeginningatapointbearingN. 1^29’ E. 152.53 feet from the common line
      of property of Wood County Development Authority and property of the Board of Trustees of
      the Grand Lodge of Ancient, Free and Accepted Masons of West Virginia; thence N. 71°31 ’ W.
      50 feet to a one inch pipe; thence N. 1 29’ E. 150 feet to a one inch pipe; thence S. 71°31’ E.
      100 feet to a one inch pipe; thence S. 1S?29’ W. 150 feet to a one inch pipe; and thence N. 71°
      31’ W. 50 feet to the place of beginning, containing 0.344 acre, more or less.
      Title reference - Deed Book No. 701, at page 266.

                       (2) A right of way of ingress and egress to and from the aforesaid parcel to the
      Masonic Home property, and for the installation, maintenance, inspection or replacement of
      water lines and appurtenances used in connection with a water tank to be located upon the
      aforesaid parcel, said right of way to be 25 feet in width, 12-1/2 feet on either side of a center
      line extending from the aforesaid common line of Wood County Development Authority and
      Masonic Home property, N. I$f29’ E. 152.53 feet, more or less, to the southerly line of the 0.344
      acre parcel.

                      (3) An easement for the occasional flowage of overflow and excess waters,
      extending from the 0.344 acre parcel and following the natural drainage contours of the land and
      natural watercourse in a southeasterly direction to Little Pond Run.

                       (4) A right of way for ingress and egress and for the installation, maintenance,
      inspection and replacement of water lines and appurtenances used in connection with a water
      tank, or tanks, to be located upon said 0.344 acre parcel of land. Said right of way shall be
      approximately 25 feet in width plus additional widths as may be necessary for cuts and fills and
      shall extend from said 0.344 acre parcel in a general northeasterly direction to a roadway
      designated as Aurora Drive on a topographical map prepared for Ohio Valley College, and
      continuing thence generally with Aurora Drive around the easterly side of a knoll and thence to
      12th Street.

                      (5) The tract or parcel of land containing 57.156 acres, more or less, conveyed
      by Wood County Development Authority to Ohio Valley College, Inc. by a Deed dated July 26,
      1997 and of record in said Clerk’s office in Deed Book No. 972, at page 549.

                     (6) The tract or parcel of land and easements conveyed by Wood County
      Development Authority, and others, to Agape Housing, Inc. and the City of Vienna by a Deed
      dated May 6, 1985 and of record in said Clerk’s office in Deed Book No. 819, at page 253.

                      (7) Two (2) tracts or parcels of land containing .08 ac and. 168 ac and easements
      conveyed by the Wood County Development Authority to S. J. Ventures, Inc. by a Deed dated
      January 8, 1987 and of record in said Clerk’s office in Deed Book No. 844, at page 186.

                             LEGAL DESCRIPTION - NORTH CAMPUS

                     All that certain tract or parcel of land situate in the City of Vienna, County of
      Wood, State of West Virginia and being more particularly bounded and described as follows:

                      Beginning at a concrete monument (found) at the southerly comer of Florence
      A. Atkinson (reference Deed Book 571, page 488).

                       Thence, with the interior of the parent tract, twelve (12), courses and distances,
                       S. 89° 18’ 25” E. 203.40 feet to a point,

      CH893647.5                                      17
No. 5:22-bk-00056       Doc 5-3       Filed 02/24/22        Entered 02/24/22 16:00:38             Page 19 of
                                                 26
                     S. 51° 30’ 05” E. 74.00 feet to apoint,
                     N. 38° 29’ 55” E. 70.00 feet to apoint,
                     S. 51° 30’ 05” E. 98.23 feet to a point,
                     S. 07° 12’ 00” E. 268.41 feet to a point in asphalt driveway, said point being N.
                     79° 37’ 42” E.,
                     150.22 feet from the northeasterly comer of Ohio Valley College, Inc. existing
                     Building, formerly Saint Joseph’s Seminary Main Building,
                     S. 83° 26’ 40” W. 328.90 feet to a point,
                     S. 06° 30’ 05” E. 23.86 feet to a point,
                     S. 83° 31’ 00” W. 120.00 feet to a point,
                     N. 06° 30’ 05” W. 43.03 feet to a point,
                     S. 83° 29’ 55” W. 275.50 feet to a point, said point being N. 80° 28’ 24” W.
                     105.03 feet from the northwesterly comer of Ohio Valley College, Inc. Existing
                     Building, formerly Saint Joseph’s Seminary Main Building,
                     N. 06° 30’ 05”. 190.00 feet to a point,
                     N. 59° 11’ 10” E. 381.92 feet to the point of beginning and containing 5.110
                     acres more or less as surveyed by James DeBrular.

                     Being part of the same property (Deed Parcels 6, 8 and 9), conveyed to Ohio
    Valley College, Inc. by Most Reverend Bernard W. Schmitt, Bishop, by a Deed dated November
    17, 1997 and of record in the office of the Clerk of the County Commission of Wood County,
    West Virginia in Deed Book No. 975, page 598.

                    Together with a nonexclusive easement for ingress to and egress from said tract
    or parcel of land over and across all roads and driveways now or hereafter located on the
    property now owned by Ohio Valley College, Inc.

                                                TRACT 2

                    All those certain tracts or parcels of land situate in Parkersburg and Vienna
    Districts, Wood County, West Virginia, and being more particularly bounded and described as
    follows:

                                            PARCEL NO, 1

                      BEGINNING at an iron pin in an old original survey (described in deed from O.
    B. Wiles, etux. toC. C. Bee, dated December 31,1915, recorded intheCormty Clerk’s office of
    Wood County, West Virginia, in Deed Book No. 165, at page 515) at the extreme northwesterly
    end of a strip of land purchased by Bee from said O. B. Wiles; miming thence S. 64 Vi E. 220
    poles to a stake; thence S. 10 14 W. 11 1/3 poles, more or less, to the original line in a former
    survey above referred to; thence N. 64 !4 W. 223.5 poles, more or less, to a stake on the bank of
    a run, in the line of the original survey; thence N, 27 E., with the line of the original survey, 11
    1/3 poles, more or less, to an iron stake or pin to the place of beginning. (The southerly line of
    the old survey having been changed); and being the same real estate conveyed to James B.
    Wiblin by C. C. Bee, widower, by deed dated November 15, 1945, recorded in the County
    Clerk’s office of Wood County, West Virginia, in Deed Book No. 275, at page 124.

                                            PARCEL NO. 2

                      BEGINNING at a concrete monument comer to lands of D. W. McConaha in
    the line of R. E. Snyder, and 28 feet, more or less, from the bottom of a steep bank across a run;
    thence South 59° 15’ West 186.96 feet to a concrete monument; thence North 08° 29’ East

    CH893647.5                                       18
No. 5:22-bk-00056       Doc 5-3       Filed 02/24/22          Entered 02/24/22 16:00:38              Page 20 of
  BumMl!        PAGE     I *J                    26

      184.00 feet to a concrete monument; thence South 76° 27’ East 145.97 feet to a large oak tree
      3.2 feet in diameter; thence South 09° 05’ West 52.86 feet to the place of beginning, and being
      all the remaining land in a Tract described in Deed Book No. 374, at page 560, and also
      described as Tract P-1 on the Parkersburg District Tax Map Block 110.

                                                PARCEL NO. 3

                       BEGINNING at a stone in the line of I. S. Dotson and H. Dixon and running
      thence in a westerly direction 40 rods to a stone in the line of I. S. Dotson and Godall Dare;
      thence in a northerly direction with said line 20 rods to a stone in said line; thence in an easterly
      direction 40 rods to a stone in said first line; thence with said first line in a southerly direction 20
      rods to the place of beginning.

                                                PARCEL NO, 4

                        BEGINNING at a point in the northeasterly comer of the tract of which the real
      estate herein described is a part, said beginning point being also the northwesterly comer of a
      tract owned by the heirs of Sally Kenney and in a line of a tract now or formerly owned by
      Nesselroade; thence running in a northwesterly direction with the line of Nesselroade, 157.5 feet
      to a point in the easterly line of a tract formerly owned by Atkinson; thence running in a
      southwesterly direction with the line of Atkinson and a tract formerly owned by Jameson, 330
      feet, more or less, to a point, the southeasterly comer of said Jameson tract; thence running in a
      northeasterly direction, 157 feet, more or less, to a point; the southwesterly comer of said
      Kenney tract; thence with said Kenney line in a northeasterly direction, 20 poles to the place of
      beginning; and being a part of a tract of 1 acre 133 square rods lying west of and abutting the
      lands of the said Sally Kenney heirs on the east and the lands formerly owned by Jameson and
      Atkinson on the west; and being a part of the same real estate conveyed to the said Leslie P.
      McConaha by Ernest Ogden by deed dated Febmary 24, 1954, recorded in the Office of the
      Clerk of the County Court of Wood County, West Virginia, in Deed Book No. 374, page 560.

                                                PARCEL NO. 5

                        BEGINNING at a stone in the Grogg and Lininger line in the rear line of the
      McHugh Farm, comer to land of Sarah A. Davis, and running thence N. 66-1/2 W. along the line
      of said land of Sarah A. Davis, 128 poles to a stake; thence at right angles to the line of Sarah A.
      Davis (crossing the McHugh-Tavenner line at right angles) 43.82 poles, more or less, to the
      lands of Fischer (formerly conveyed to James Tavernier by Bettie Tavernier, et al. by deed dated
      January 27, 1898, recorded in Deed Book No. 95, at page 398); thence along the rear line of the
      125-acre tract of which Isaac Tavernier died seized, to the northeast comer of lands conveyed to
      C. H. Shattuck, J. M. Jackson, Jr., andL.N. Tavernier by William McHugh, et al. by deed dated
      March27,1901, recorded in Deed Book No. 114, page3; and along the rear line of said lands so
      conveyed by said McHugh to Shattuck, et al. to the place of beginning, being the same real estate
      granted and conveyed unto the said parties of the first part by Fred L. Morlan, et al., by deed
      dated March 19, 1958, recorded in the Office of the Clerk of the County Court of Wood County,
      West Virginia, in Deed Book No. 418, at page 485.

                                                PARCEL NO. 6

                          BEGINNING at a point in the dividing line between the William Bel Farm and
      the Frank Jenkins and Isaac Tavenner farms at a point 2596 feet N. 63° 24’ W. from the
      southerly comer of the William Bell farm and running thence N. 47° 31 ’ E. 337.5 feet, more or
      less, to a stake; thence S. 63° 17’ E. 2400 feet, more or less, to a point in the back or easterly line

      CH893647.5                                         19
No. BOOLi^^Cl   PAGE Doc 5-3
    5:22-bk-00056                      Filed 02/24/22        Entered 02/24/22 16:00:38             Page 21 of
                                                  26

     of the William Bell farm; thence with the back or easterly line of the William Bell farm, S. 13°
     52’ W. 337-1/2 feet, more or less, to a point; the southerly comer of the William Bell farm;
     thence N. 63° 24’ W. with the southerly line of the William Bell farm 2596 feet, more or less, to
     the place of beginning.

                                             PARCEL NO, 7

                       BEGINNING at a point which is the southeast comer of Lot No. 106 of
     Shattuck, Jackson, Tavernier & McHugh’s Addition as shown on plat of said Addition of record
     in the Office of the Clerk of the County Court of Wood County, West Virginia, in Plat Book No.
     2, pages 6 and 7; thence N. 26° 45’ E. along the line of said Lot No. 106 and Lot No. 56 of said
     Addition, 22.27 poles to a stake, comer to said Lot No. 56; thence S. 60° 45’ E. 10.82 poles to a
     stake; thence N. 34° E. 10.98 poles to a stake; thence S. 63° 22’ E. 14.69 poles to a stake; thence
     N. 34° E. 10.98 poles to a stake; thence S. 63° 22’ E. 51.13 poles to a stone; thence S. 26° 48’
     W. 43.62 poles to a stone in a line of lands now or formerly owned by Sarah A. Davis; thence N.
     63° 22’ W. 78.22 poles to the point of beginning.

                                             PARCEL NO. 8

                       BEGINNING at a sycamore on the common line between this land and the land
     of William Bell; thence S. 26° 29’ W. 362 feet to a stake in the dividing line between this land
     and that of L. N. Tavernier et al. and a comer to lands of James Tavernier; thence with said
     dividing line S. 63° 31’ E. 3,033 feet to a stake in the old line and on the south by a small run
     and near a large white oak marked fore and aft (old marks); thence with said line N. 8° E. 382
     feet to a stake near a white oak and hickory pointers, a comer to land of William Bell; thence
     with the aforesaid common line with Bell N. 63° 31’ W. 3000 feet to the beginning.

                    Excepting and reserving from the above described tract, however, a certain
     parcel bounded and described as follows:

                      BEGINNING at a point, the northwesterly comer of the tract hereinbefore
     described, running thence easterly with the common line of said tract and the line of B. F.
     Jameson tract, 200 feet to a point; thence running in a southerly direction to a point in the
     southerly line of the tract hereinbefore described, said point being 200 feet easterly from the
     southwesterly comer of the tract hereby conveyed; thence running with the southerly line of the
     tract hereby conveyed, in a westerly direction, 200 feet to the southwesterly comer of said tract;
     thence miming with the westerly line of said tract in a northerly direction, 362 feet, more or less,
     to the place of beginning.


                                             PARCEL NO. 9

                       BEGINNING at an iron pin at the foot of the hill in the line of an old cross
     fence just back of the old Ben Davis Orchard, said beginning point being a common comer to
     the tract of land of 17.21 acreshereby conveyed and another adjoining 18,65 acre tract as shown
     on a plat of acreage made of the William Bell Estate by L. G. Merrill, Civil Engineer, in July
     1936; thence S. 63° 24’ E. and with the dividing line between said two tracts, 2,510 feet to a
     point; thence N. 13° 52’ E. 321.5 feet to a point, common comer to the tract hereby conveyed
     and another 15.87 acre tract adjoining; thence N. 63° 24’ W. and with the dividing line between
     the said last two mentioned tracts, 2,285 feet to an iron pin in the line of the old cross fence, as
     aforesaid; thence S. 52° 52’ W. 348.36 feet to the place of beginning.



     CH893647.5                                       20
No. 5:22-bk-00056
       A                Doc 5-3       Filed 02/24/22         Entered 02/24/22 16:00:38           Page 22 of
   BUCK.    49 PAGE                              26
                        Excepting and reserving from the above described tract, a certain tract or parcel
       located on the northwesterly end thereof, bounded and described as follows:

                       BEGINNING at the northwesterly comer of the tract hereinbefore described;
      thence running S. 23° 24’ E. 310 feet to a point; thence running S. 26° 36’ W. 312.8 feet to a
      point in the common line of the above described tract and a tract owned by B. F. Jameson;
      thence with the Jameson tract, N. 63° 24’ W. 467 feet, more or less, to the southwesterly comer
      of the tract hereinbefore described; thence with the westerly line of said tract, N. 53° 30’ E.
      348.38 feet to the place of beginning.

                       THERE IS ALSO EXCEPTED AND RESERVED from said tracts or parcels of
      land that part or portion thereof conveyed unto the St. Joseph Hospital by the Diocese of
      Wheeling-Charleston by the terms of a deed dated May 21,1991 and of record in the office of
      the Cleric ofthe County Commission of Wood County, West Virginia, in Deed Book No. 896, at
      page 411.

                         There is further excepted and reserved therefrom all that certain tract or parcel
       of land situate in the City of Vienna, County of Wood, State of West Virginia and being more
       particularly bounded and described as follows:

                       Beginning at a concrete monument (found) at the southerly comer of Florence
       A. Atkinson (reference Deed Book 571, page 488).

                        Thence, with the interior of the parent tract, twelve (12), courses and distances,
                        S. 89° 18’ 25” E. 203.40 feet to a point,
                        S. 51° 30’ 05” E. 74.00 feet to a point,
                        N. 38° 29’ 55” E. 70,00 feet to a point,
                        S. 51° 30’ 05” E. 98.23 feet to a point,
                        S. 07° 12’ 00” E. 268.41 feet to a point in asphalt driveway, said point being N.
                        79° 37’42” E.,
                        150.22 feet from the northeasterly comer of Ohio Valley College, Inc. existing
                        Building, formerly Saint Joseph’s Seminary Main Building,
                        S. 83° 26’ 40” W. 328.90 feet to a point,
                        S. 06° 30’ 05” E. 23.86 feet to a point,
                        S. 83° 31 ’ 00” W. 120.00 feet to a point,
                        N. 06° 30’ 05” W. 43.03 feet to a point,
                        S. 83° 29’ 55” W. 275.50 feet to a point, said point being N. 80° 28’ 24” W.
                        105.03 feet from the northwesterly comer of Ohio Valley College, Inc. Existing
                        Building, formerly Saint Joseph’s Seminary Main Building,
                        N. 06° 30’ 05”. 190.00 feet to a point,
                        N. 59° 11’ 10” E. 381.92 feet to the point of beginning and containing 5.110
                        acres more or less as surveyed by James DeBrular.

       Being part of the same property (Deed Parcels 6, 8 and 9), conveyed to Ohio Valley College, Inc.
       by Most Reverend Bernard W. Schmitt, Bishop, by a Deed dated November 17, 1997 and of
       record in the office of the Clerk of the County Commission of Wood County West Virginia in
       Deed Book No. 975, page 598.

                       Together with a nonexclusive easement for ingress to and egress from said tract
       or parcel of land over and across all roads and driveways now or hereafter located on the
       property now owned by Ohio Valley College, Inc.



       CH893647.5                                       21
No. 5:22-bk-00056
           A
                u       Doc 5-3      Filed 02/24/22        Entered 02/24/22 16:00:38            Page 23 of
      BOOK 14    ji   PACE                      26

                     The tracts or parcels of land hereinabove described as “Tract No. 1 ” and “Tract
    No. 2” are a part or portion of the same property conveyed unto Ohio Valley College, Inc. by
    Most Reverend Bernard W. Schmitt, Bishop, by aDeed dated November 17,1997 and of record
    in said Clerk’s office in Deed Book No. 975, at page 598.

                                               TRACT 3

                                           PARCEL NO. 1

                   All that certain tract or parcel of land situate in Parkersburg District, Wood
    County, West Virginia, more particularly bounded and described as follows:

                      BEGINNING at a stake in the County Road and which stake is located at the
    Northeast comer ofproperty owned by the Ohio Valley College, Inc.; thence S.              E. along
    the line of the Ohio Valley College property, 2420.93 feet to a point; thence N. 2^42’ E. 461.05
    feet; thence N. 61° 04’ W. 176.02 feet to a stake; thence N. 2^21’ E. 448.48 feet to a stake;
    thence S.         E. 2318 feet to a stake; thence S. l^W. 1040 feet to the point of beginning,
    containing 52 acres, more or less and being a part of the same tracts or parcels of land conveyed
    unto SJ. Ventures, Inc., a West Virginia corporation by St. Joseph’s Hospital of Parkersburg, a
    non-profit West Virginia corporation, by a deed dated October 8, 1985 and of record in the
    office of the Clerk of the County Commission of Wood County, West Virginia in Deed Book
    No. 825, at page 362.

                     EXCEPTING AND RESERVING THEREFROM those certain tracts or
    parcels of land described as containing 0.011 acres, 0.012 acres and 0.035 acres, more or less in
    a deed dated March 24,1987, and of record in the office of the Clerk of the County Commission
    of Wood County, West Virginia, inDeedBookNo. 847, at page 24, from SJ. Ventures, Inc., a
    West Virginia corporation to D. E. Kniska and T. A. Kniska, his wife.

                     ADDITIONALLY EXCEPTING AND RESERVING THEREFROM all
    that certain tract or parcel of land containing 5.115 acres, together with all appurtenant
    easements described in and covered by a Ground Lease from SJ. Ventures, Inc. to West Virginia
    Rehabilitation Services, Inc., a Pennsylvania corporation, dated December 1,1986 and of record
    in said Clerk’s office in Deed Book No. 842, at page 658. This conveyance is also being made
    subject and subordinate to all of the rights of the Lessee pursuant to the terms of the Ground
    Lease described in the preceding sentence.

                    Said tract or parcel of land described as, “Parcel No. 1” is a part or portion of
    property conveyed to Ohio Valley College, Inc. by S J. Ventures, Inc. and St. Joseph’s Hospital
    of Parkersburg by a Deed dated Febmary 4, 1998 and of record in said Clerk’s office in Deed
    Book No. 978, at page 134. This Deed contains the following provision:

                      “By its acceptance of this deed, the party of the second part hereby assumes all
    of the obligations of SJ. Ventures, Inc., one of the parties of the first part to maintain an
    easement area appurtenant to said hereinabove described “Tract 1 ” as set forth in Section 28 of
    that Certain Ground Lease dated December 1,1986 and of record in said Clerk’s office in Deed
    Book No. 842, at page 658, from SJ. Ventures, Inc., as Lessorto West Virginia Rehabilitation
    Services, Inc., as Lessee.”




    CH893647.5                                      22
No. 5:22-bk-00056      Doc 5-3
                             I- •■I
                                      Filed 02/24/22        Entered 02/24/22 16:00:38            Page 24 of
                                                 26

                                              PARCEL NO. 2

                     All that certain tract or parcel of land situate in Parkersburg District, Wood
      County, West Virginia, more particularly bounded and described as follows:

                        BEGINNING at a common comer to the properties owned by S J. Ventures, Inc.
      andD. E and T. A. Kniska, as shown on the “Plat Showing The Land Acquired by SJ. Ventures,
      Inc. From Ohio Valley College, Parkersburg District, Wood County,”, prepared by Rude and
      Associates, Inc., said plat being of record in said Clerk’s office; thence with the property line
      between S.J. Ventures, Inc. and D. E. and T. A. Kniska S.           10’ 20” W. 54.23 feet to the
      beginning point; thence S. ifOS’ 10” E. 22.61 feet to a point on the property line between S.J.
      Ventures, Inc. andD. E. andT. A. Kniska; thenceN. 6<?10’ 40” W. 9.14 feet; thenceN. 1^1 O’
      20” E. 18.89 feet to the place of beginning, and containing 0.002 acre, and designated as “Tract
      B” on a plat attached to the hereinafter described deed dated March          , 1987, and being the
      same tract or parcel of land conveyed unto S.J. Ventures, Inc., a West Virginia corporation, by
      D. E. Kniska and T. A. Kniska, his wife, by a deed dated March            , 1987 and of record in
      said Clerk’s office.

                                              PARCEL NO. 3

                   All those two (2) certain tracts or parcels of land situate in Parkersburg District,
      Wood County, West Virginia, more particularly bounded and described as follows:

                       TRACT I: BEGINNING at the common comer to property now or formerly
      owned by D. E. and T. A. Kniska and the Wood County Development Authority, thence with the
      following bearings and distances; South 6(? 1 ’ 40” East, 61.00 feet to the westerly right of way
      line of Wood County Route 4; South 4'f 15 ’ 31” West, 15.40 feet with said right of way line;
      South 3? 12’ 40” West, 76.61 feet with said right of way line; North 3^29’ 11” West, 17.18
      feet; with a curve to the right having a radius of 185 feet and a chord of North 3^9’ 31” West,
      15.03 feet; North 1^10’ 20” East, 74.58 feet to the beginning point, and containing 0.080 acres,
      more or less.

                        TRACT II: BEGINNING at the common comer to properties now or previously
      owned by S.J. Ventures, Inc., a West Virginia corporation, D. E. and T. A. Kniska and the Wood
      County Development Authority; thence with the following bearings and distances: South Ilf 10’
      20” West, 73.12 feet; South L?105 20” Wes, 74.85 feet; with a curve having a radius of 185 feet
      and a chord of North 21° 41 ’ 42” West, 65.12 feet; North 1 fSO’ 57” West, 126.62 feet to the
      property line of S.J. Ventures, Inc., and the Wood County Development Authority; South 6^41 ’
      43” East, 90.31 feet with said property line to the beginning point, and containing 0.168 acres,
      more or less, and being more fully described on the Plat attached to the hereinafter described
      deed dated January 8, 1987 and of record in said Clerk’s office in Deed Book No. 844, at page
      186.

                       Said Tract I and Tract II are the same tracts or parcels of land conveyed unto S.J.
      Ventures, Inc., a West Virginia corporation, by the Wood County Development Authority, a
      public corporation, by a deed dated January 8,1987 and of record in said Clerk’s office in Deed
      Book No. 844, at page 186.

                      THERE IS HEREBY CONVEYED TOGETHER WITH said Tract I and
      Tract II the easement which was also conveyed unto S.J. Ventures, Inc., a West Virginia



      CH893647.5                                       23
            4
No. 5:22-bk-00056       Doc 5-3
                            Of        Filed 02/24/22        Entered 02/24/22 16:00:38             Page 25 of
                 -la me                          26
    corporation, by the terms of the deed dated January 8,1987 described in the preceding paragraph
    and which was described therein as Tract El, as follows:

                      TRACT III: BEGINNING at the common comer to properties now or
    previously owned by S J. Ventures. Inc., and the Wood County Development Authority, thence
    with the following bearings and distances, South 11°30’ 57”East, 126.62feetwithacurvetothe
    left having a radius of 185 feet and a chord of South 21°41’ 42” East, 65.12 feet: South 5f2V
    57” West, 33.69 feet; North 7?41’ 24” West, 15.30 feet; North 1?19’ 28” West, 39.05 feet;
    North OCf 23’ 44” East, 151.70 feet; North 1 f 30’ 57” West, 12.50 feet to said property line:
    South 63?41 ’ 43” East, 5.00 feet with said property line to the beginning point, and containing
    0.107 acres, more or less, and being more fully described on a Plat attached to the hereinabove
    described deed dated January 8,1987 and of record in said Clerk’s office in Deed Book No. 844,
    at page 186.

                     There is expressly excepted herefrom that certain easement and right of way
    previously granted by The Wood County Development Authority and Ohio Valley College, Inc.,
    unto S.J. Ventures, Inc. by deed dated the 3rd day of November, 1986 and of record in said
    Clerk’s office in Deed Book No. 842, at page 651, more fully described as follows:

                     SITUATE AND BEING in the District of Parkersburg, County of Wood and
     State of West Virginia, more particularly described as follows:

                      BEGINNING at a reference point at the common point of properties owned by
    S.J. Ventures, Inc., D. E. and T. A. Kniska, and the Wood County Development Authority;
    thence North 63?41 ’ 43” West, 39.67 feet with the property line between S.J. Ventures, Inc., and
    the Wood County Development Authority, to the true beginning point; thence with the following
    bearings and distances; South 1 lo30’ 57” East, 95.35 feet, with a curve to the left having a radius
    of 145 feet and a chord of South 2? 59’ 5” East, 62.78 feet; South 3^29’ 11” East, 3.38 feet to
    the westerly right ofway line ofWood County Route 4; South 34,28’ 52” West, 42.31 feet with
    said right of way line; North 3^ 29’ 11” West, 17.18 feet, with a curve to the right having a
    radius of 185 feet and a chord of North 24* 1’ 21” West, 79.86 feet; North 11° 30’ 57” West,
    126.62 feet to the property of S.J. Ventures, Inc.; South 63f*4r 43” East, 50.64 feet with said
    property line to the beginning point, and containing 0.175 acres, more or less.

                                            PARCEL NO, 4

                   All that certain tract or parcel of land situate in Parkersburg District, Wood
    County, West Virginia, more particularly bounded and described as follows:

                      BEGINNING at a hub located at the easterly end of 14th Street in the City of
    Vienna, thence S. 61° 15’ E. 1273 feet to a hub located on the line of a tract of land recently
    acquired by the St. Joseph’s Hospital of Parkersburg from Harry F. Davis and Florence B. Davis
    by deed dated the 16th day of June, 1966, and of record in said Clerk’s office in Deed Book No,
    518, at page 40; thence along the line of said St. Joseph’s Hospital of Parkersburg property so
    acquired N. if 30’ E. 430.5 feet to another hub; thence N. b^W. 1247 feet, more or less, to a
    hub located in the westerly end line of 15th Street in the City of Vienna; thence S. 31°45’ W.
    416.9 feet to the point of beginning, containing 12.40 acres, more or less, and being also a part
    orportion of the property conveyed unto S.J. Ventures, Inc., aWest Virginia corporation, by the
    terms of the hereinabove described deed dated October 8, 1985.

                                                TRACT 4


    CH893647.5                                       24
No. 5:22-bk-00056
       4   ^ fa      Doc 5-3           Filed 02/24/22         Entered 02/24/22 16:00:38              Page 26 of
                PAGE                              26


                      All that certain tract or parcel of land situate in Parkersburg District, Wood
       County, West Virginia, more particularly bounded and described as follows:

                        BEGINNING at a point in a stream, said point being located on the common
       property line between Tract “K” and Tract “E”, 360.24 feet in a N. 65 degrees 56 minutes 37
       seconds W. direction from a concrete monument at the northeasterly boundary of Tract “E”;
       thenceN. 65 degrees 56 minutes 37 seconds W., 1,241.70 feet with said common line to an iron
       pipe, passing an iron pipe reference pipe located on said line 7.00 feet from the beginning and
       located on the bank of the stream; thence N. 24 degrees 03 minutes 23 seconds E. 188.00 feet to
       an iron pipe located in the common line between Tract “K” and Tract “8”, said point being the
       northwesterly comer of the 5.3059 Acre Tract herein described; thence S. 65 degrees 56 minutes
       37 seconds E. 1,217.00 feet to a point in the stream located in the common line between Tract
       “k” and Tract “8” and passing an iron pipe reference pipe at 1,207.00 feet; thence S. 16 degrees
       33 minutes 18 seconds W. 189.62 feet to the point of beginning, containing 5.3059 acres, more
       or less, and being the same tract or parcel of land conveyed unto St. Joseph’s Hospital of
       Parkersburg, a West Virginia non-profit corporation, by the Most Reverend Bernard W. Schmitt,
       Bishop of the Roman Catholic Diocese of Wheeling-Charleston by a Quit-Claim Deed dated
       November 28,1994 and of record in the office of the Clerk of the County Commission of Wood
       County, West Virginia in Deed Book No. 938, at page 741.

                        Said tracts or parcels of land hereinabove described as, “Tract No. 3” and,
       “Tract No. 4” are the same tracts or parcels of land conveyed unto Ohio Valley College, Inc. by
       S.J. Ventures, Inc. and St. Joseph’s Hospital of Parkersburg by a Deed dated Febmary 4,1998
       and of record in said Clerk’s office in Deed Book No. 978, at page 134.

                       LEGAL DESCRIPTION - SNYDER ACTIVITY CENTER

                        All that certain lot, tract or parcel of land situate, lying and being in the District
       of Parkersburg, County of Wood and State of West Virginia, more particularly bounded and
       described as follows:

                        BEGINNING at an iron pin in the northerly line of Jug Run (Briscoe) said point
      being the southeasterly property comer of Kenneth McVay, of record in the office of the Clerk of
      the County Commission of Wood County, West Virginia, in Deed Book No. 804, at page 385,
      said point also being the northeast property comer of the parcel to be herein described, said
      parcel previously described in Deed Book No. 848, at page 779; thence along the north line of
      the above mentioned road, SouthS^lS’ 01” West 203.03 feettoapoint; thence along the north
      line of said road, South 3715’ 01” West 206.90 feet to a pk nail; thence leaving said road North
      6(> 01 ’ 40” West 40.87 feet to a drill hole; thence South 4fl5, 31” West 15.40 feet to a drill
      hole; thence North 5^44’ 15” West 41.74 feet to an iron rod; thence North 1 f 08’ 10” West
      64.73 feet to a drill hole; thence North 1?10* 20” East 26.44 feet to an iron rod; thence North l(f
      02’ 43” East 114 feet to an iron rod; thence South 79>57’ 17” East 11.03 feet to an iron rod;
      thence North 0^25 ’ 17” East 211.98 feet to an iron pipe; thence along the southerly line of the
      above mentioned McVay propeny South 6716’ 43” East 301.77 feet to the place of beginning,
      containing 1.85 acres, as shown on a plat thereof prepared by James L. Debrular, ELS, attached
      to a Deed of record in said Clerk’s office in Deed Book No. 897, at page 293.




      CH893647.5                                         25
